                              NO. 07-10-00269-CV
                                       
                            IN THE COURT OF APPEALS
                                       
                       FOR THE SEVENTH DISTRICT OF TEXAS
                                       
                                  AT AMARILLO
                                       
                                    PANEL B
                                       
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OCTOBER 12, 2010
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                       CHASCO CONSTRUCTORS LTD., L.L.P.,
                         CHASCO CONTRACTING LTD., AND
               CHASCO CONTRACTING MANAGEMENT, L.L.C., APPELLANTS
                                       
                                      v.
                                       
                W.P. HOWLE MASONRY CONTRACTOR, INC., APPELLEE 
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                FROM THE 30TH DISTRICT COURT OF WICHITA COUNTY;
                                       
             NO. 170,528-A; HONORABLE ROBERT P. BROTHERTON, JUDGE
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Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.


                              MEMORANDUM OPINION
                                       

Appellants, Chasco Constructors Ltd., L.L.P., Chasco Contracting Ltd., and Chasco Contracting Management, L.L.C. (collectively, "Chasco"), perfected this appeal from the trial court's entry of Final Summary Judgment awarding appellee, W.P. Howle Masonry Contractor, Inc., damages of $17,250.70, plus pre and post judgment interest, attorney's fees, and costs of court.  The clerk's record was filed on July 9, 2010.  Due to the nature of the disposition, there was no reporter's record to be filed.  By letter dated July 12, Chasco was notified that their appellate brief was due to be filed by August 9.  On August 6, Chasco requested an extension of time to file appellants' brief which was granted making the brief due on September 8.  Chasco did not file their brief nor request an extension of time to file their brief by September 8.  By letter dated September 15, the Clerk of this Court notified Chasco that the brief was past due and that failure to file the brief with this Court on or before September 27, could result in dismissal of their appeal pursuant to Rules 38.8(a) and 42.3 of the Texas Rules of Appellate Procedure.  Chasco has neither filed their brief nor responded to this Court's September 15 correspondence.
	Accordingly, we dismiss this appeal for want of prosecution and failure to comply with a notice from the Clerk of this Court requiring a response or other action in a specified time.  See Tex. R. App. P. 38.8(a)(1), 42.3(b), (c).

								Mackey K. Hancock
									Justice

